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 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                 )      Case №: 1:19-CR-00256 LJO SKO
                                                )
12                    Plaintiff,                )      ORDER APPOINTING COUNSEL
                                                )
13            vs.                               )
                                                )
14    JULIO CESAR MORENO GARCIA,                )
                                                )
15                    Defendant.                )
                                                )
16
17           The defendant has attested to his financial inability to employ counsel and wishes the

18   Court to appoint counsel to represent him. Therefore, in the interests of justice and according to

19   Sixth Amendment to the United States Constitution and 18 U.S.C. § 3006A, the Court

20   ORDERS:

21           1.      John Meyer is APPOINTED to represent the above defendant in this case

22   effective nunc pro tunc to December 16, 2019. This appointment shall remain in effect until

23   further order of this court.

24
     IT IS SO ORDERED.
25
26       Dated:     December 17, 2019                          /s/ Jennifer L. Thurston
                                                       UNITED STATES MAGISTRATE JUDGE
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